8:18-cr-00042-RFR-SMB         Doc # 88     Filed: 09/10/18   Page 1 of 1 - Page ID # 142




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:18CR42
                                             )
       vs.                                   )
                                             )
JOSE ARNOLD RAMIREZ, JR.,                    )                   ORDER
CHRIS HARMEIER,                              )
                                             )

                     Defendants.


      This matter is before the court on Defendant Ramirez’s Unopposed Motion to
Continue Trial [87]. Counsel needs additional time to consult with client, prepare for trial
and explore plea negotiations. For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [87] is granted, as follows:

       1. The jury trial, for both defendants, now set for September 17, 2018, is
          continued to November 5, 2018.

       2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
          justice will be served by granting this continuance and outweigh the interests
          of the public and the defendant in a speedy trial. Any additional time arising
          as a result of the granting of this motion, that is, the time between today’s
          date and November 5, 2018, shall be deemed excludable time in any
          computation of time under the requirement of the Speedy Trial Act. Failure to
          grant a continuance would deny counsel the reasonable time necessary for
          effective preparation, taking into account the exercise of due diligence. 18
          U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED: September 10, 2018.

                                          BY THE COURT:


                                          s/ Susan M. Bazis
                                          United States Magistrate Judge
